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                          THE UNITED STATES DISTRICT COURT
13                              DISTRICT OF ARIZONA
14                                PHOENIX DIVISION

15
16    Apache Stronghold,                          CIVIL NO. 2:21-cv-00050-SPL

17                Plaintiff,                      JOINT STATUS REPORT
18    v.

19    United States of America, et al.,
20
                  Defendants.
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      Case 2:21-cv-00050-SPL Document 123 Filed 12/19/23 Page 2 of 3




 1          Pursuant to this Court’s Order (ECF No. 81), Plaintiff and Federal Defendants
 2   provide this Joint Status Report. As the Court is aware, the Forest Service has rescinded
 3   the challenged Final Environmental Impact Statement (FEIS) and Draft Record of
 4   Decision (DROD) and the Land Exchange for the Resolution Copper Project will not go
 5   forward until the FEIS is re-published. Federal Defendants rescinded the FEIS and
 6   DROD “in order to reinitiate consultation with Tribes and ensure impacts have been fully
 7   analyzed.” ECF No. 80 at 2-3 (citing San Carlos Apache Tribe v. United States Forest
 8   Serv., No. 21-68, ECF No. 36 at 1, 3; Arizona Mining Reform Coalition v. United States
 9   Forest Serv., No. 21-122, ECF No. 26 at 2-3.). Meanwhile, the Ninth Circuit Court of
10   Appeals has not yet issued its decision after rehearing Plaintiff’s appeal en banc on
11   March 21, 2023.
12          Since the last Joint Status Report was filed, the Department reports that it
13   continues its review of the consultation record, and environmental and other associated
14   documents, to ensure compliance with applicable laws, regulations, and policies. The
15   Department has not yet identified a timeframe for completing this broad review and
16   additional steps required by the Southeast Arizona Land Exchange and Conservation Act.
17          The Parties will provide another Joint Status Report in 30 days.
18          Submitted this 19th day of December, 2023,
19                                             TODD KIM
                                               Assistant Attorney General
20
                                               U.S. Department of Justice
21                                             Environment & Natural Resources Division
22                                             /s/ Tyler M. Alexander
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